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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


United States of America


               -v-                                       18 Cr. 179 (JSR)


Louis Pina,

                           Defendant.




               Sentencing Submission for Violation of Supervised Release




                                              GRÁINNE E. O’NEILL, ESQ.
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                                       Preliminary Statement

       Louis Pina struggles with anxiety, depression, and post-traumatic stress disorder. The

Court released Mr. Pina from prison, pursuant to the First Step Act, 18 U.S.C. § 3582(c)(1)(A)

on June 29, 2020, because the lockdown conditions in prison were seriously undermining Mr.

Pina’s mental health.

       Later that evening, Mr. Pina was reunited with his mother and within 48 hours he began

serving a sentence of home detention in her apartment in the Bronx, NY. Mr. Pina’s home

detention is scheduled to terminate on September 5, 2021 and then he will serve a term of

supervised release for three years thereafter.

       Mr. Pina’s term of home confinement has been challenging. He suffers from post-

traumatic stress disorder, which at times makes it hard for him to sit still and remain in control of

his emotions. Historically Mr. Pina has self-medicated for his mental health conditions with

marijuana and opioids. At times during his term of supervised release he has continued to use

narcotics. Mr. Pina is now prescribed Wellbutrin. Although he has had difficulty acquiring the

medication, he recently resumed this treatment and is hopeful that it will moderate the depression

and flashbacks.

       Mr. Pina has also at times not returned to his home as scheduled and has missed some

counseling appointments. Mr. Pina has developed a good and trusting relationship with his

counselor, Miss Hope, and he knows that it is in his best interest to attend these sessions.

Probation has scheduled Mr. Pina’s counseling so that he has individual and group therapy; both

sessions are overseen by Miss Hope. Mr. Pina derives a lot from both the individual and the

group sessions but has had technical issues with attending at times. For a period, Miss Hope was

unavailable to oversee the counseling sessions and Mr. Pina felt frustrated at times when there



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were substitutes who didn’t understand his history and particular needs. And sometimes the

sessions are difficult and intense, and Mr. Pina does not feel able to confront his past and present

in the manner in which therapy requires. Mr. Pina is trying but his attempts are not perfect. This

is to be expected.

       Mr. Pina maintains a faithful and loving relationship with his partner, Kayla Nail. They

live together at Mr. Pina’s mother’s apartment with their daughter KN, who is three years old.

Mr. Pina is an active and dedicated father.

       I ask that the Court sentence Mr. Pina to time served and give him another chance to

attend treatment, break his drug addiction, and learn how to be an active and productive member

of society.

                                   Biopsychosocial Background

       When Louis Pina was five years old his father was murdered in front of him. As he lay

dying, Louis Sr. cradled Louis in his arms until he passed on. Louis was five years old and his

mother, who was quite young thought it best that they try to put this event behind him. She never

spoke of his father or his death to Louis. Louis however vividly remembered his father and his

death. It has haunted his dreams at night throughout his life, and he replays it in his mind during

the day.

       Mr. Pina has a “lifelong history of psychological, developmental, and cognitive deficits,

compounded by various psycho-social factors that have contributed significantly to his current

impaired state of functioning.” Report from Dr. Alexander Bardey, Prepared June 23, 2020 and

attached as Exhibit A, under seal. Although it is only recently that Mr. Pina has begun to receive

mental health treatment for PTSD and depression, he has been treated pharmacologically for




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attention deficit disorder therapy with Adderall. Report from Sanford Drob, prepared April 23,

2019, attached as Exhibit B, under seal.

                               Mr. Pina’s Mental Health Conditions

       Mr. Pina’s PTSD has manifested as nightmares, flashbacks, avoidance, suspiciousness,

depression, anxiety, irritability, and mood swings. He is quick to catastrophize a situation. For

example, recently officer Huffman went to Mr. Pina’s home to conduct a home visit and asked

for Mr. Pina to come down to meet her. Mr. Pina called his mother, frantically telling her that he

was being arrested; he was in the middle of a panic attack at the thought of returning to prison.

Although he is terrified of returning to prison, his PTSD affects his actions such that he becomes

more likely to be returned to prison. Mr. Pina didn’t intend to leave his probation officer outside

his apartment building waiting for him in the cold, however he was not able to think clearly to

realize that he should go downstairs and calmly talk to her instead of panicking and calling his

mother. He didn’t mean to disrespect Officer Huffman, and he was just sitting in the apartment

doing everything he was supposed to, but he panicked and, in that moment, made the wrong

decision. His path to recovery has not been linear to say the least.

       Mr. Pina struggles with very basic life tasks; this is not insolence, but rather a real deficit

in his abilities. He lacks the necessary skills to manage in society. For example, he was

prescribed Wellbutrin earlier this month, instead of simply asking his mother to pick up his

prescription on her way home, he didn’t tell anyone about the prescription and has been without

antidepressants some time now. Once Officer Huffman realized what was going on, she

intervened, and his mother picked up the medication.

       Mr. Pina is actively suffering from depression and he wants to take medication to assist

him. His activities seem irrational at times, but they stem from a very basic lack in ability,




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compounded by serious anxiety and depression. He has difficulty coping with very basic life

skills. He is not malicious or willfully disobedient. Mr. Pina knows that he will feel better if he

takes antidepressants. Lately he has been feeling despondent and worthless – these symptoms

would be mitigated with antidepressants. However, is in such a fog of social dysfunction that

even reaching out to ask his mother for help sometimes seems overwhelming sometimes.

       Since Mr. Pina’s arrest for this violation of supervised release, he has been actively trying

to comply with the terms of his probation. He has attended almost all of his therapy sessions and

has remained off narcotics. Although the progress is slow, it is trending in a positive direction. If

Mr. Pina continues on this path, he will be able to learn the basic skills he needs to cope with a

productive adult life.

       Mr. Pina isn’t violent or abusive; he is lost. He has spent his life without psychological

intervention and now that he is finally receiving mental health treatment his progress will be

slow and uneven. As frustrating as it is for his mother, his counsel, and his probation officer, if

we continue this regular and steady intervention Mr. Pina will have the best chance of success as

an adult.




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                                               Conclusion

          In talking with Mr. Pina, and his probation officer, it is clear that he desperately needs

intensive intervention in order to be able to progress as a person. He is an adult now, and he

needs to learn how to accomplish very basic tasks in order to move forward in his life.

          I ask the Court to maintain the conditions of his release and to sentence him to time

served.

Dated: New York, New York
February 18, 2021

                                                         Respectfully submitted,

                                                         By     /s/ Grainne E. O’Neill
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